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            District Court of the United States
                          for the
              Central District of California
                                  )
                                  )
                                  )
                                  )
                                  ) Civil Action No.:
                                  )
                                  )
                                  )
                                  )
                                  ) Please see all relevant State Actions:
                                  )
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                                  )
                                  )
                                  )
Vessel   commonly    known    as )
                                  )
                                  )
Citizenship of the United States, )
                                  )
Defendants                        )




                   Summons in a Civil Action
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A lawsuit has been filed against you. Within 21 days after service of this summons on you (not
counting the day you received it)     or 60 days if you are the United States or a United States
agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or
(3)    you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the


If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

                                                   Clerk of the Court


          12/5/23
Date: ____________________                         __________________________________________
                                                    Signature of Clerk or Deputy Clerk

                                                            Erick E. Estrada
